           Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 1 of 21



 1                                            THE HONORABLE ROBERT S. LASNIK
 2

 3

 4

 5

 6

 7                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                 AT SEATTLE
 9   JEANETTE PORTILLO, et al.,
10                                           Case No. 2:24-cv-00229-RSL
11                            Plaintiffs,
12
                                              STIPULATED PROTECTIVE ORDER
13         v.
14

15   COSTAR GROUP INC, et al.,
16

17                            Defendants.
18

19

20

21

22

23

24

25

26

27

28
     STIPULATED PROTECTIVE ORDER
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 2 of 21



 1
     1.     PURPOSES AND LIMITATIONS
 2
            Discovery in this Action is likely to involve production of confidential, proprietary, or
 3
     private information for which special protection may be warranted. Accordingly, the Parties hereby
 4
     stipulate to and petition the Court to enter the following Stipulated Protective Order. The Parties
 5
     acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket protection
 6
     on all disclosures or responses to discovery, the protection it affords from public disclosure and use
 7
     extends only to the limited information or items that are entitled to confidential treatment under the
 8
     applicable legal principles, and it does not presumptively entitle Parties to file confidential
 9
     information under seal.
10
     2.     DEFINITIONS
11
            2.1       Action or Litigation: Action or Litigation refers to the above-captioned litigation,
12
     Portillo v. CoStar Group, Inc., Case No. 2:24-cv-00229, proceeding in the Western District of
13
     Washington.
14
            2.2       Challenging Party: A Party or Non-Party that challenges the designation of
15
     information or items under this Stipulated Protective Order.
16
            2.3       Counsel (without qualifier): Outside Counsel of Record or In-House Counsel, and
17
     their support staff, including but not limited to paralegals, secretaries, law clerks, contractors, and
18
     investigators.
19
            2.4       Designating Party: A Producing Party or Non-Party designating documents or
20
     information as Protected Material under this Order.
21
            2.5       Discovery Material: All items or information, regardless of the medium or manner
22
     in which it is generated, stored, or maintained (including, among other things, testimony,
23
     transcripts, and tangible things), that are produced or generated in disclosures or responses to
24
     discovery in this matter, and information derived directly therefrom.
25
            2.6       Expert: A person with specialized knowledge or experience in a matter pertinent to
26
     the Litigation, along with her or his employees and support personnel, who has been retained by a
27
     Party or its Counsel to serve as an Expert witness or as a consultant in this Action.
28
     STIPULATED PROTECTIVE ORDER - 1
                Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 3 of 21



 1
               2.7    In-House Counsel: Attorneys who are employees of a Party and whose
 2
     responsibilities include overseeing, working on, or supporting this Action. In-House Counsel does
 3
     not include Outside Counsel of Record or any other outside Counsel.
 4
               2.8    Non-Party: Any natural person, partnership, corporation, association, or other legal
 5
     entity not named as a Party to this Action.
 6
               2.9    Outside Counsel of Record: Attorneys, along with their associates, paralegals and
 7
     other firm support personnel, who are not employees of a Party but who are retained to represent
 8
     or advise a Party to this Action.
 9
               2.10   Party: Any Party to this Action, including all its officers, directors, employees,
10
     consultants, retained Experts, and Outside Counsel of Record (and their support staff).
11
               2.11   Producing Party: A Party or Non-Party that produces Discovery Material in this
12
     Action.
13
               2.12   Protected Material: Any Discovery Material that is designated as “Confidential,”
14
     “Highly Confidential,” or “Outside Counsel Only,” as defined below.
15
               2.13   Receiving Party: A Party that receives Discovery Material from a Producing Party.
16
     3.        PROTECTED MATERIAL
17
               “Confidential,” “Highly Confidential,” and “Outside Counsel Only” material is defined as
18
     follows:
19
               1.     Confidential Material. As used in this Order, “Confidential” material means any
20
     document(s), or any portion(s) thereof, that the Producing Party reasonably believes contain,
21
     describe, or disclose sensitive, non-public, confidential information, such as: (a) information that is
22
     subject to restrictions on its use or disclosure by statute, regulation, court order, or contractual
23
     agreement; (b) research, technical, commercial, or financial information that the Party has
24
     maintained as confidential; (c) medical information concerning any individual; (d) personally
25
     identifying information, including but not limited to non-Party names, social security numbers,
26
     phone numbers, home addresses, email addresses and other information subject to redaction under
27
     Local Civil Rule 5.2; (e) income tax returns (including attached schedules and forms), W-2 forms
28
     STIPULATED PROTECTIVE ORDER – 2
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 4 of 21



 1
     and 1099 forms; (f) personnel or employment records of a person who is not a Party to the
 2
     Litigation; or (g) any commercially sensitive information, trade secrets, or competitive or strategic
 3
     initiatives that are not readily ascertainable and for which the Designating Party has taken
 4
     reasonable steps to maintain confidentiality. The Parties will make reasonable efforts to ensure that
 5
     information or documents that are available to the public are not designated as Confidential
 6
     material. All copies of, summaries of, and information derived from Confidential material is
 7
     Confidential material.
 8
            2.      Highly Confidential Material. As used in this Order, “Highly Confidential” material
 9
     means any material that a Producing Party reasonably believes to be so highly sensitive business or
10
     personal information that its disclosure would be likely to cause competitive or business injury to
11
     the Producing Party. Highly Confidential material may include: (a) current or future business
12
     strategies and other strategic planning information; (b) current or future manufacturing know-how
13
     or technology; (c) current or future customer lists or information; (c) source code and proprietary
14
     software, systems, or processes; (d) wages or benefits information; or (e) intellectual property. If
15
     required by applicable privacy laws, Highly Confidential material may also include personnel files
16
     that are designated as such for purposes of this Litigation. All copies of, summaries of, and
17
     information derived from Highly Confidential material is Highly Confidential material.
18
            3.      Outside Counsel Only Material. As used in this Order, “Outside Counsel Only”
19
     material means material that the Producing Party reasonably believes is so competitively sensitive
20
     that it is entitled to additional protection via a “Outside Counsel Only” designation, and disclosure
21
     of such information would create a substantial risk of serious harm that could not be avoided by
22
     less restrictive means. Outside Counsel Only material may include: (a) current or future pricing,
23
     pricing strategies, and processes used to determine pricing; (b) current or future projections or plans
24
     regarding performance, budgets, production, output, sales, marketing, or distribution practices; (c)
25
     current or future margin or cost data; or (d) contracts or the negotiation of contracts for a Party’s
26
     products or services. All copies of, summaries of, and information derived from Outside Counsel
27
     Only material is Outside Counsel Only material.
28
     STIPULATED PROTECTIVE ORDER – 3
                Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 5 of 21



 1   4.     SCOPE OF ORDER
 2          The protections conferred by this Stipulated Protective Order cover not only Protected

 3   Material (as defined above), but also (1) any information copied or extracted from Protected

 4   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3) any

 5   testimony, conversations, or presentations by Parties or their Counsel that might reveal Protected

 6   Material.

 7          However, the protections conferred by this agreement do not cover information that is in

 8   the public domain or becomes part of the public domain through trial or otherwise.

 9   5.     ACCESS TO AND USE OF PROTECTED MATERIAL
10          5.1      Basic Principles. A Receiving Party may use Protected Material that is disclosed or

11   produced by another Party or by a Non-Party in connection with this Litigation only for prosecuting,

12   defending, or attempting to settle this Litigation, including any appeal thereof, and not for any other

13   business, commercial, or other purpose. Protected Material may be disclosed only to the categories

14   of persons and under the conditions described in this Stipulated Protective Order. Subject to the

15   provisions below, a Receiving Party shall not disclose Protected Material to putative class members

16   not named as plaintiffs in this Action, unless and until one or more classes have been certified.

17   Nothing in this Stipulated Protective Order, however, shall prevent or prejudice any Party from

18   using its own documents for any purpose, including privately disclosing its own Protected Material

19   to others not mentioned in Paragraphs 5.2, 5.3, or 5.4, and such private disclosure shall not waive

20   the protections of this Stipulated Protective Order. Protected Material must be stored and

21   maintained by a Party at a location and in a secure manner that ensures that access is limited to the

22   persons authorized under this agreement.

23          5.2      Disclosure of “Confidential” Material. Unless otherwise ordered by the Court or

24   permitted in writing by the Designating Party, a Receiving Party may disclose Confidential material

25   only to:

26                   (a)    Counsel: The Receiving Party’s Counsel (including their support staff) to

27   whom it is reasonably necessary to disclose the information for this Litigation;

28
     STIPULATED PROTECTIVE ORDER – 4
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 6 of 21



 1
                    (b)     Parties: Individual Parties, officers, directors, employees, or former
 2
     employees of a Party, but only to the extent that: (a) the Outside Counsel of Record for the Party
 3
     intending to disclose the information has a good-faith basis for believing such Confidential
 4
     Information is relevant to events, transactions, discussions, communications, or data about which
 5
     the individual Party, employee, or former employee has knowledge; and (b) disclosure to such
 6
     individual Party, employee, or former employee is limited to the portion of the document about
 7
     such events, transactions, discussions, communications, or data;
 8
                    (c)     Consultants and Experts: Experts and consultants to whom disclosure is
 9
     reasonably necessary for this Litigation and who have signed the “Acknowledgment and Agreement
10
     to Be Bound” (Exhibit A);
11
                    (d)     Court and Court Reporters: The Court, Court personnel, and court reporters,
12
     videographers, and their staff;
13
                    (e)     Contractors: Professional vendors, including e-discovery vendors and their
14
     staff, copy or imaging services and their staff, and professional jury or trial consultants and their
15
     staff and mock jurors, to whom disclosure is reasonably necessary for this Litigation;
16
                    (f)     Witnesses at Hearings and Depositions: During their depositions or at trial,
17
     witnesses in the Action to whom disclosure is reasonably necessary and who have signed the
18
     “Acknowledgment and Agreement to Be Bound” (Exhibit A), provided that Outside Counsel of
19
     Record for the Party intending to disclose the information has a good-faith basis for believing such
20
     Confidential material is relevant to events, transactions, discussions, communications or data about
21
     which the witness is expected to testify or about which the witness may have knowledge. A witness
22
     who is shown documents or information containing Confidential material but who is not otherwise
23
     authorized to have access to copies of documents or testimony containing the Confidential material
24
     shall not retain or copy portions of the transcripts of their depositions or testimony or any documents
25
     that contain the Confidential material, except to the extent necessary for the witness to review, make
26
     any changes, and sign the deposition transcript pursuant to Federal Rule of Civil Procedure 30(e)
27
     and this Stipulated Protective Order. Pages of transcribed deposition testimony or exhibits to
28
     STIPULATED PROTECTIVE ORDER – 5
               Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 7 of 21



 1
     depositions that reveal Confidential material must be separately bound by the court reporter and
 2
     may not be disclosed to anyone except as permitted under this Stipulated Protective Order;
 3
                     (g)    Author or Recipient: The author or recipient of a document containing the
 4
     information or a custodian or other person who otherwise possessed or knew the information (not
 5
     including a person who received the document solely in the course of this Action);
 6
                     (h)    Identified Persons: Any person who is referenced in the document or whose
 7
     conduct is purported to be identified in the document, provided that (i) Outside Counsel of Record
 8
     for the Party intending to disclose the information has a good-faith basis for believing such
 9
     Confidential information is relevant to events, transactions, discussions, communications, or data
10
     about which the person has knowledge; (ii) disclosure to such person is limited to the portion of the
11
     document in which the person or person’s conduct is identified or referenced; and (iii) such person
12
     has signed the “Acknowledgment and Agree to Be Bound” (Exhibit A);
13
                     (i)    Insurance: Relevant employees of any insurer to a Receiving Party to the
14
     extent that such disclosure is reasonably necessary for the defense of that Receiving Party in this
15
     Action;
16
                     (j)    Mediators: Mediators, or other third parties who are appointed by the Court
17
     or retained by the Parties for settlement purposes or resolution of discovery or other disputes and
18
     their necessary personnel; and
19
                     (k)    Others by Consent: Other persons only by written consent of the Producing
20
     Party and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), or
21
     upon order of the Court and on such conditions as may be agreed or ordered, but such consent shall
22
     not be unreasonably withheld.
23
               5.3   Disclosure of “Highly Confidential” Material. Unless otherwise ordered by the
24
     Court or permitted in writing by the Designating Party, a Receiving Party may disclose Highly
25
     Confidential material only to:
26
                     (a)    Counsel: The Receiving Party’s Outside Counsel of Record (including their
27
     support staff), as well as In-House Counsel of the Receiving Party (1) who have no direct
28
     STIPULATED PROTECTIVE ORDER – 6
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 8 of 21



 1
     involvement in competitive decision-making 1 (other than to provide legal advice regarding such
 2
     decision-making), (2) to whom disclosure is reasonably necessary for this Litigation, and (3) who
 3
     have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 4
                    (b)     Consultants and Experts: Experts and consultants to whom disclosure is
 5
     reasonably necessary for this Litigation and who have signed the “Acknowledgment and Agreement
 6
     to Be Bound” (Exhibit A);
 7
                    (c)     Court and Court Reporters: The Court, Court personnel, and court reporters,
 8
     videographers, and their staff;
 9
                    (d)     Contractors: Professional vendors, including e-discovery vendors and their
10
     staff, copy or imaging services and their staff, and professional jury or trial consultants and their
11
     staff and mock jurors, to whom disclosure is reasonably necessary for this Litigation;
12
                    (e)     Witnesses at Hearings and Depositions: During their depositions or at trial,
13
     witnesses in the Action to whom disclosure is reasonably necessary and who have signed the
14
     “Acknowledgment and Agreement to Be Bound” (Exhibit A), provided that Outside Counsel of
15
     Record for the Party intending to disclose the information has a good-faith basis for believing such
16
     Highly Confidential material is relevant to events, transactions, discussions, communications or
17
     data about which the witness is expected to testify or about which the witness may have knowledge.
18
     A witness who is shown documents or information containing Highly Confidential material but
19
     who is not otherwise authorized to have access to copies of documents or testimony containing the
20
     Highly Confidential material shall not retain or copy portions of the transcripts of their depositions
21
     or testimony or any documents that contain the Highly Confidential material except to the extent
22
     necessary for the witness to review, make any changes, and sign the deposition transcript pursuant
23
     to Federal Rule of Civil Procedure 30(e) and this Stipulated Protective Order. Pages of transcribed
24
     deposition testimony or exhibits to depositions that reveal Highly Confidential material must be
25

26

27   1
       The term “competitive decision making,” as used in Paragraph 5.3(a), means decision-making
     concerning hotel business strategy (including setting prices, product development, business plans,
28   and marketing).
     STIPULATED PROTECTIVE ORDER – 7
               Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 9 of 21



 1
     separately bound by the court reporter and may not be disclosed to anyone except as permitted
 2
     under this Stipulated Protective Order;
 3
                       (f)    Author or Recipient: The author or recipient of a document containing the
 4
     information or a custodian or other person who otherwise possessed or knew the information (not
 5
     including a person who received the document solely in the course of this Action);
 6
                       (g)    Identified Persons: Any person who is referenced in the document or whose
 7
     conduct is purported to be identified in the document, provided that (i) Outside Counsel of Record
 8
     for the Party intending to disclose the information has a good-faith basis for believing such Highly
 9
     Confidential information is relevant to events, transactions, discussions, communications, or data
10
     about which the person has knowledge; (ii) disclosure to such person is limited to the portion of the
11
     document in which the person or person’s conduct is identified or referenced; and (iii) such person
12
     has signed the “Acknowledgment and Agree to Be Bound” (Exhibit A);
13
                       (h)    Insurance: Relevant employees of any insurer to a Receiving Party to the
14
     extent that such disclosure is reasonably necessary for the defense of that Receiving Party in this
15
     Action;
16
                       (i)    Mediators: Mediators, or other third parties who are appointed by the Court
17
     or retained by the Parties for settlement purposes or resolution of discovery or other disputes and
18
     their necessary personnel; and
19
                       (j)    Others by Consent: Other persons only by written consent of the Producing
20
     Party and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), or
21
     upon order of the Court and on such conditions as may be agreed or ordered, but such consent shall
22
     not be unreasonably withheld.
23
               5.4     Disclosure of “Outside Counsel Only” Material. Unless otherwise ordered by the
24
     Court or permitted in writing by the Designating Party, a Receiving Party may disclose Outside
25
     Counsel Only material only to:
26
                       (a)    Counsel: The Receiving Party’s Outside Counsel of Record (including their
27
     support staff);
28
     STIPULATED PROTECTIVE ORDER – 8
            Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 10 of 21



 1
                    (b)     Consultants and Experts: Experts and consultants to whom disclosure is
 2
     reasonably necessary for this Litigation and who have signed the “Acknowledgment and Agreement
 3
     to Be Bound” (Exhibit A);
 4
                    (c)     Court and Court Reporters: The Court, Court personnel, and court reporters,
 5
     videographers, and their staff;
 6
                    (d)     Contractors: Professional vendors, including e-discovery vendors and their
 7
     staff, copy or imaging services and their staff, and professional jury or trial consultants and their
 8
     staff and mock jurors, to whom disclosure is reasonably necessary for this Litigation;
 9
                    (e)     Witnesses at Hearings and Depositions: During their depositions, witnesses
10
     in the Action to whom disclosure is reasonably necessary and who have signed the
11
     “Acknowledgment and Agreement to Be Bound” (Exhibit A), provided that Outside Counsel of
12
     Record for the Party intending to disclose the information has a good-faith basis for believing such
13
     Outside Counsel Only material is relevant to events, transactions, discussions, communications or
14
     data about which the witness is expected to testify or about which the witness may have knowledge.
15
     A witness who is shown documents or information containing Outside Counsel Only material but
16
     who is not otherwise authorized to have access to copies of documents or testimony containing the
17
     Outside Counsel Only material shall not retain or copy portions of the transcripts of their
18
     depositions or testimony or any documents that contain the Outside Counsel Only material except
19
     to the extent necessary for the witness to review, make any changes, and sign the deposition
20
     transcript pursuant to Federal Rule of Civil Procedure 30(e) and this Stipulated Protective Order.
21
     Pages of transcribed deposition testimony or exhibits to depositions that reveal Outside Counsel
22
     Only material must be separately bound by the court reporter and may not be disclosed to anyone
23
     except as permitted under this Stipulated Protective Order;
24
                    (f)     Author or Recipient: The author or recipient of a document containing the
25
     information or a custodian or other person who otherwise possessed or knew the information (not
26
     including a person who received the document solely in the course of this Action);
27

28
     STIPULATED PROTECTIVE ORDER – 9
               Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 11 of 21



 1
                      (g)     Insurance: Relevant employees of any insurer to a Receiving Party to the
 2
     extent that such disclosure is reasonably necessary for the defense of that Receiving Party in this
 3
     Action;
 4
                      (h)     Mediators: Mediators, or other third parties who are appointed by the Court
 5
     or retained by the Parties for settlement purposes or resolution of discovery or other disputes and
 6
     their necessary personnel; and
 7
                      (i)     Others by Consent: Other persons only by written consent of the Producing
 8
     Party and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), or
 9
     upon order of the Court and on such conditions as may be agreed or ordered, but such consent shall
10
     not be unreasonably withheld.
11
     6.        DESIGNATING PROTECTED MATERIAL
12
               6.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party or
13
     Non-Party that designates information or items for protection under this Stipulated Protective Order
14
     must take care to limit any such designation to Discovery Material that qualifies under the
15
     appropriate standards.
16
               Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown
17
     to be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily
18
     encumber or delay the case development process or to impose unnecessary expenses and burdens
19
     on other Parties) expose the Designating Party to sanctions.
20
               If it comes to a Designating Party’s attention that information or items that it designated for
21
     protection do not qualify for protection or the level of protection initially asserted, the Designating
22
     Party must promptly notify all other Parties that it is withdrawing or changing the mistaken
23
     designation. Notwithstanding the preceding sentence, should a Producing Party discover that it
24
     produced Discovery Material that was not designated as Protected Material or that it produced
25
     Discovery Material designated in the incorrect category of Protected Material, the Producing Party
26
     shall notify all Receiving Parties, in writing, of the error and identify (by Bates number or other
27
     individually identifiable information) the affected documents and their new designation or re-
28
     STIPULATED PROTECTIVE ORDER – 10
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 12 of 21



 1
     designation. Thereafter, the material so designated or re-designated will be treated as the corrected
 2
     category of Protected Material. Promptly after providing such notice, the Producing Party shall
 3
     provide re-labeled copies of the material to each Receiving Party reflecting the change in
 4
     designation. The Receiving Party will replace the incorrectly designated material with the newly
 5
     designated materials and will destroy the incorrectly designated materials.
 6
            6.2     Manner and Timing of Designations. Except as otherwise provided in this Stipulated
 7
     Protective Order, or as otherwise stipulated or ordered, any disclosure or Discovery Material that
 8
     qualifies for protection under this Stipulated Protective Order must be clearly so designated before
 9
     or when the material is disclosed or produced.
10
                    (a)     Information in documentary form: A Designating Party may designate a
11
     document (e.g., paper or electronic documents and deposition exhibits, but excluding transcripts of
12
     depositions or other pretrial or trial proceedings) as Confidential, Highly Confidential, or Outside
13
     Counsel Only under this Stipulated Protective Order by placing or affixing the word(s)
14
     “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL,” or “OUTSIDE COUNSEL ONLY” on the
15
     document and on all copies in a manner that will not interfere with the legibility of the document.
16
     To the extent it is not practicable to affix such designation on the document, the Producing Party
17
     may designate the document as such by cover letter or slip sheet, or by affixing a label to the
18
     production media containing the document. As used in this Stipulated Protective Order, “copies”
19
     includes electronic images, duplicates, extracts, summaries, or descriptions that contain the
20
     Confidential, Highly Confidential, or Outside Counsel Only material. Subject to Section 6.3, the
21
     marking “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL,” or “OUTSIDE COUNSEL ONLY”
22
     shall be applied prior to or at the time the documents are produced or disclosed.
23
                    (b)     Testimony given in deposition or in other pretrial proceedings: Unless a
24
     Party designates otherwise on the record at the time the deposition testimony is taken, all deposition
25
     testimony taken in this Litigation and the information included in that testimony (including
26
     exhibits) shall be treated as Highly Confidential for a period of 30 days after the receipt of the final
27
     transcript of the deposition or until a Notice of Designation is served by the Party or Non-Party
28
     STIPULATED PROTECTIVE ORDER – 11
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 13 of 21



 1
     being deposed, whichever comes first. If a Party or Non-Party reasonably believes that certain
 2
     deposition testimony should be treated as Outside Counsel Only during the 30 day period, it shall
 3
     state so on the record, including the specific portions of testimony that should be accorded Outside
 4
     Counsel Only treatment. No later than 30 days after the receipt of the final transcript of the
 5
     deposition, a Party or Non-Party may designate portions of the transcript, or exhibits thereto, as
 6
     Protected Material by serving a Notice of Designation to all Parties and the court reporter for the
 7
     deposition in question as to specific pages and lines of the transcript and exhibits that are designated
 8
     Confidential, Highly Confidential, or Outside Counsel Only.
 9
                     (c)     Use of Protected Material at hearings: Nothing in this Stipulated Protective
10
     Order shall be construed to limit the use of any document(s) at any hearing provided that the Parties
11
     take necessary advanced precautions to avoid the public disclosure of Protected Material. A Party
12
     that intends to present, or that anticipates that another Party may present, Protected Material at a
13
     hearing, shall, when practicable, bring that issue to the Court’s and the Parties’ attention sufficiently
14
     in advance of the proceeding without disclosing the Protected Material. The Court may thereafter
15
     make such orders as are necessary to govern the use of such documents at hearings. If a Party or
16
     Non-Party desires to limit the disclosure of Protected Material at trial, the issue should be addressed
17
     during the pre-trial conference.
18
                     (d)     Other tangible items: The Producing Party must affix in a prominent place
19
     on the exterior of the container or containers in which the information or item is stored the word(s)
20
     “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL,” or “OUTSIDE COUNSEL ONLY.”
21
             6.3     Inadvertent Failures to Designate. If corrected, an inadvertent failure to designate
22
     qualified information or items does not, standing alone, waive the Designating Party’s right to
23
     secure protection under this Stipulated Protective Order for such material. Upon correction of a
24
     designation, the Receiving Parties must make reasonable efforts to ensure that the material is treated
25
     in accordance with the provisions of this Stipulated Protective Order.
26

27

28
     STIPULATED PROTECTIVE ORDER – 12
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 14 of 21



 1   7.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
 2          7.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

 3   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

 4   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

 5   burdens, or a significant disruption or delay of the Litigation, a Party does not waive its right to

 6   challenge a confidentiality designation by electing not to mount a challenge promptly after the

 7   original designation is disclosed.

 8          7.2     Meet and Confer. The Parties must attempt in good faith to resolve any dispute

 9   regarding confidentiality designations without court involvement. Any motion regarding

10   confidentiality designations or for a protective order must include a certification, in the motion or

11   in a declaration or affidavit, that the movant has engaged in a good faith meet and confer conference

12   with other affected Parties in an effort to resolve the dispute without court action. The certification

13   must list the date, manner, and participants to the conference. A good faith effort to confer requires

14   a face-to-face meeting or a video or telephone conference. If agreement is reached confirming,

15   changing, or waiving the confidentiality designation as to any Protected Material subject to the

16   objection, the Designating Party shall serve on all Parties a notice specifying the Discovery Material

17   and the nature of the agreement and comply as appropriate with the procedures described above for

18   changing the designation of previously designated materials.

19          7.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

20   intervention, the Challenging Party may file and serve a motion to challenge confidentiality under

21   Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). Frivolous

22   challenges, and those made for an improper purpose (e.g., to harass or impose unnecessary expenses

23   and burdens on other Parties) may expose the Challenging Party to sanctions. All Parties shall

24   continue to maintain the material in question as originally designated until the Court rules on the

25   challenge, or the challenge is otherwise resolved.

26

27

28
     STIPULATED PROTECTIVE ORDER – 13
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 15 of 21



 1   8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
             OTHER LITIGATION
 2
             If a Party is served with a subpoena or a court order issued in another litigation that compels
 3
     disclosure of any information or items designated in this Action as Protected Material, that Party
 4
     must:
 5
                    (a)     promptly notify the Designating Party in writing and include a copy of the
 6
     subpoena or court order;
 7
                    (b)     promptly notify in writing the party who caused the subpoena or order to
 8
     issue in the other litigation that some or all of the material covered by the subpoena or order is
 9
     subject to this agreement. Such notification shall include a copy of this Stipulated Protective Order;
10
     and
11
                    (c)     cooperate with respect to all reasonable procedures sought to be pursued by
12
     the Designating Party whose confidential material may be affected.
13
             The purpose of imposing these duties is to alert interested persons to the existence of this
14
     Stipulated Protective Order and to afford the Designating Party in this Litigation an opportunity to
15
     protect its confidentiality interests in the court from which the discovery request, subpoena, or order
16
     is issued. The Designating Party shall bear the burden and the expense of seeking protection in that
17
     court of its Discovery Material. Nothing in these provisions should be construed as authorizing or
18
     encouraging a Receiving Party in this Action to disobey a lawful directive from another court.
19
     9.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
20
             If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed confidential
21
     material to any person or in any circumstance not authorized under this Stipulated Protective Order,
22
     the Receiving Party must immediately (a) notify in writing the Designating Party of the
23
     unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected
24
     Material, (c) inform the person or persons to whom unauthorized disclosures were made of all the
25
     terms of this Stipulated Protective Order, and (d) request that such person or persons execute the
26
     “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.
27

28
     STIPULATED PROTECTIVE ORDER – 14
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 16 of 21



 1   10.    PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED MATERIAL
 2          When a Producing Party gives notice to Receiving Parties that certain produced material is

 3   subject to a claim of privilege or other protection, the obligations of the Receiving Parties are those

 4   set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify

 5   whatever procedure may be established in an e-discovery order or agreement that provides for

 6   production without prior privilege review. The Parties agree to the entry of a non-waiver order

 7   under Fed. R. Evid. 502(d), as set forth herein.

 8   11.    CONCLUSION AND RETURN OR DESTRUCTION OF PROTECTED
            MATERIAL
 9
            Unless otherwise ordered or agreed to in writing by the Producing Party, within 60 days
10
     after the final termination of this Action, including all appeals, each Receiving Party must use
11
     reasonable efforts to either return all Protected Material to the Producing Party, including all copies,
12
     extracts and summaries thereof, or destroy such materials and certify that fact in writing, unless (1)
13
     the Protected Material has been entered as evidence or filed (unless introduced or filed under seal),
14
     or (2) the Protected Material is included in an e-mail or an attachment to an e-mail or contained in
15
     deposition transcripts or drafts or final expert reports.
16
            The Receiving Party’s reasonable efforts shall not require the return or destruction of
17
     Protected Material from (i) disaster recovery or business continuity backups, (ii) data stored in back-
18
     end databases critical to application operability and system-generated temporary folders, (iii)
19
     archived data with limited end-user accessibility, or (iv) material that is subject to legal hold
20
     obligations or commingled with other such material. Backup storage media will not be restored for
21
     purposes of returning or certifying destruction of Protected Material, but such retained information
22
     shall continue to be treated in accordance with this Stipulated Protective Order and destroyed in
23
     due course.
24
            Notwithstanding this provision, Counsel are entitled to retain (1) attorney work product and
25
     (2) an archival copy of all documents filed with the Court, trial, deposition, and hearing transcripts,
26
     correspondence, deposition and trial exhibits, Expert reports, attorney work product, and consultant
27
     and Expert work product, even if such materials contain Protected Material, provided that such
28
     STIPULATED PROTECTIVE ORDER – 15
            Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 17 of 21



 1
     Counsel shall not disclose such Protected Material to any person, except pursuant to this Stipulated
 2
     Protective Order.
 3
            The confidentiality obligations imposed by this Stipulated Protective Order shall remain in
 4
     effect until a Designating Party agrees otherwise in writing or a court orders otherwise.
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     STIPULATED PROTECTIVE ORDER – 16
            Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 18 of 21



 1                   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 2   DATED: August 1, 2024
 3
     Respectfully submitted,
 4
     /s/ Steve W. Berman
 5   Steve W. Berman, WSBA No. 12536
     Theodore Wojcik, WSBA No. 55553
 6
     Xiaoyi Fan, WSBA No. 56703
 7   HAGENS BERMAN SOBOL SHAPIRO LLP
     1301 2nd Avenue, Suite 2000
 8   Seattle, WA 98101

 9   Rio S. Pierce (pro hac vice)
     HAGENS BERMAN SOBOL SHAPIRO LLP
10
     715 Hearst Avenue, Suite 202
11   Berkeley, CA 94710

12   Counsel for Plaintiffs

13

14
     s/ Heidi Bradley                        s/ Vanessa Soriano Power
15   Heidi Bradley (WSBA No. 35759)          Vanessa Soriano Power (WSBA No. 30777)
     BRADLEY BERNSTEIN SANDS                 STOEL RIVES LLP
16   2800 First Avenue, Suite 326            600 University Street, Suite 3600
     Seattle, WA 98121                       Seattle, WA 98101
17
     Jarrett Arp (pro hac vice)              s/ Lawrence E. Buterman
18   Mari Grace (pro hac vice)               Lawrence E. Buterman (pro hac vice)
     DAVIS POLK & WARDWELL LLP               LATHAM & WATKINS LLP
19   901 15th Street, NW                     1271 Avenue of the Americas
     Washington, DC 20005                    New York, NY 10020
20
     Neal Potischman (pro hac vice)          Sarah M. Ray (pro hac vice)
21   DAVIS POLK & WARDWELL LLP               LATHAM & WATKINS LLP
     1600 El Camino Real                     505 Montgomery Street, Suite 2000
22   Menlo Park, CA 94025                    San Francisco, CA 94111

23   Tina Hwa Joe (pro hac vice)             Elyse M. Greenwald (pro hac vice)
     DAVIS POLK & WARDWELL LLP               LATHAM & WATKINS LLP
24   450 Lexington Avenue                    10250 Constellation Blvd. Suite 1100
     New York, NY 10017                      Los Angeles, CA 90067
25
     Counsel for Defendant Hilton Domestic   David L. Johnson (pro hac vice)
26   Operating Company                       LATHAM & WATKINS LLP
                                             555 Eleventh Street NW, Suite 1000
27   s/ Michael Rosenberger                  Washington, DC 20001
     Michael Rosenberger (WSBA No. 17730)
28   GORDON TILDEN THOMAS & CORDELL LLP
     STIPULATED PROTECTIVE ORDER – 17
            Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 19 of 21



 1   600 University Street, Suite 2915              Counsel for Defendants CoStar Group, Inc. and
     Seattle, WA 98101                              STR, LLC
 2
     s/ Douglas E. Litvack                          s/ Robert Maguire
 3   Douglas E. Litvack (pro hac vice)              Robert Maguire (WSBA No. 29909)
     Lindsay C. Harrison (pro hac vice)             DAVIS WRIGHT TREMAINE LLP
 4   JENNER & BLOCK LLP                             920 5th Avenue, Suite 3300
     1099 New York Avenue, NW, Suite 900            Seattle, WA 98104-1610
 5   Washington, DC 20001-4412
                                                    Katherine B. Forrest (pro hac vice)
 6   Counsel for Defendant Hyatt Corporation        Matthew A. Robinson (pro hac vice)
                                                    PAUL, WEISS, RIFKIND, WHARTON & GARRISON
 7                                                  1285 Avenue of the Americas
                                                    New York, NY 10019
 8
                                                    Paul D. Brachman (pro hac vice)
 9   /s/ Paul R. Taylor                             PAUL, WEISS, RIFKIND, WHARTON &
     Paul R. Taylor (WSBA No. 14851)                GARRISON
10   BYRNES KELLER CROMWELL LLP                     2001 K Street, NW
     1000 Second Avenue, 38th Floor                 Washington, DC 20006-1047
11   Seattle, Washington 98104
                                                    Counsel for Defendant Loews Hotels Holding
12                                                  Corporation
     Jeffrey S. Cashdan (pro hac vice)
13   Emily S. Newton (pro hac vice)                 s/ Kristen C. Limarzi
     Lohr A. Beck (pro hac vice)                    Kristen C. Limarzi (pro hac vice)
14   Caroline Buyak (pro hac vice)                  Melanie L. Katsur (pro hac vice)
     KING & SPALDING LLP                            Sarah Akhtar (pro hac vice)
15   1180 Peachtree Street, NE, Suite 1600          GIBSON, DUNN & CRUTCHER LLP
     Atlanta, GA 30309-3521                         1050 Connecticut Avenue, N.W.
16                                                  Washington, D.C. 20036
     Counsel for Defendant Six Continents Hotels,
17   Inc.                                           Jeffrey B. Coopersmith (WSBA No. 30954)
                                                    Steven Fogg (WSBA No. 23528)
18                                                  CORR CRONIN
                                                    1015 Second Avenue, Floor 10
19                                                  Seattle, WA 98104
20                                                  Counsel for Defendant Marriott International,
                                                    Inc.
21
                                                    s/ Robin Wechkin
22                                                  Robin Wechkin (WSBA No. 24746)
                                                    SIDLEY AUSTIN LLP
23                                                  8426 316th Place SE
                                                    Issaquah, WA 98027
24
                                                    Carrie Mahan (pro hac vice)
25                                                  Benjamin M. Mundel (pro hac vice)
                                                    S. Nicole Booth (pro hac vice)
26                                                  SIDLEY AUSTIN LLP
                                                    1501 K Street, N.W.
27                                                  Washington, D.C. 20005
28                                                  Amy P. Lally (pro hac vice)
     STIPULATED PROTECTIVE ORDER – 18
            Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 20 of 21



 1                                                     SIDLEY AUSTIN LLP
                                                       1999 Avenue of the Stars, 17th Floor
 2                                                     Los Angeles, CA 90067
 3                                                     Counsel for Defendant Accor Management US
                                                       Inc.
 4

 5                                                    ORDER
 6          PURSUANT TO STIPULATION, IT IS SO ORDERED.
 7          IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any
 8   documents, inadvertently or otherwise, in this proceeding shall not, for the purposes of this
 9   proceeding or any other federal or state proceeding, constitute a waiver by the Producing Party of
10   any privilege applicable to those documents, including the attorney-client privilege, attorney work-
11   product protection, or any other privilege or protection recognized by law. This Order shall be
12   interpreted to provide the maximum protection afforded by Federal Rule of Evidence 502(d).
13
            DATED this 2nd day of August, 2024.
14

15                                                        A
                                                          Robert S. Lasnik
16                                                        United States District Judge
17

18

19

20

21

22

23

24

25

26

27

28
     STIPULATED PROTECTIVE ORDER – 19
             Case 2:24-cv-00229-RSL Document 106 Filed 08/02/24 Page 21 of 21



 1
                                                 EXHIBIT A
 2
                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3
             I,   ____________________________________             [print   or   type   full   name],    of
 4
     ____________________________________ [print or type full address], declare under penalty of
 5
     perjury that I have read in its entirety and understand the Stipulated Protective Order that was issued
 6
     by the United States District Court for the Western District of Washington on August 2, 2024, in
 7
     the case of Portillo et al v. CoStar Group Inc et al, Case No. 2:24-cv-00229-RSL. I agree to comply
 8
     with and to be bound by all the terms of this Stipulated Protective Order and I understand and
 9
     acknowledge that failure to so comply could expose me to sanctions and punishment in the nature
10
     of contempt. I solemnly promise that I will not disclose in any manner any information or item that
11
     is subject to this Stipulated Protective Order to any person or entity except in strict compliance with
12
     the provisions of this Order.
13
             I further agree to submit to the jurisdiction of the United States District Court for the
14
     Western District of Washington for the purpose of enforcing the terms of this Stipulated Protective
15
     Order, even if such enforcement proceedings occur after termination of this action.
16

17   DATE:
18
     City and State where sworn and signed:
19

20

21   Printed name:
22
     Signature:
23

24

25

26

27

28
     STIPULATED PROTECTIVE ORDER – EXHIBIT A
